Case 2:05-cr-20212-SH|\/| Document 6 Filed 06/07/05 Page 1 of 2 Page|D 8

UNITED STATES DISTRICT coURT F'-E° B" -°»°~

FOR THE
WESTERN DISTRICT or TENNESSEE 95 JUN "7 m 9' 13

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CLEF{K U.S= DIST. CT‘
W.D, OF TN. MEMPH\S

CR. No. 05-20212-Ma

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UNITED STATES OF AMERICA

VS.

HOWARD COVINGTON
APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
Tony R. Arvin, AUSA applies to the Court for a Writ to have Howard Covington #04118339
now being detained in the Shelby County Jail, appear before Magistrate Judae Tu M. Pham,
M, June, 2005, at 2:00 p.m. for an lnitial Appearance and for such other appearances as this
Court may direct.

Respectf'ully submitted this §§1_ day of June, 2005.

L.

@NY R.,n'wiN

Assistant U. S. Attorney
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Upon consideration of the foregoing Application,
I)AVID JOLLEY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
sHERIFF/wARnEN, Mark Luttrell

YOU ARE HEREBY COMMANDED to have Howard Covington, #04118339 appear before the

Honorable Judge Pham at the date and time aforementioned.

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ENTERED¢his l day or 51\) »~Q. ,2005.

 

UNITED STATES MAGISTRATE JUDGE

This docL.ment entered on the docket sheet ln compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-202]2 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

